01/14/25 18:06:48 Desc Main
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Debtor 4 Russell Kauffman

Debtor 2

(Spouse, if filing)

United States Bankruptcy Court for the: Eastern District of Pennsylvania}
(State)

Case number 24-13538

Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Deutsche Bank National Trust Company, as Indenture
Name of creditor: Trustee for New Century Home Equity Loan Trust 2005-2 Court claim no. (if known): 1-1

Last 4 digits of any number you use to 8 8 O 7
identify the debtor's account:

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

No
LJ Yes. Date of the last notice: / /

an Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.

Description Dates incurred Amount
1. Late charges (1) $
2. Non-sufficient funds (NSF) fees (2) $
3. Attorney fees 11/14/2024 (3) $ 100.00
4. Filing fees and court costs (4) $
5. Bankruptcy/Proof of claim fees 11/08/2024 65) $ 500.00
6. Appraisal/Broker's price opinion fees (6) $
7. Property inspection fees (7) $
8. Tax advances (non-escrow) (8) $
9. Insurance advances (non-escrow) (9) §$
10. Property preservation expenses. Specify: (10) $
11. Other. Specify: Service Costs 11/15/2024,11/15/2024,11/15/2024 (11) $_2.07
12. Other. Specify: (12) §$
13. Other. Specify: (13) $
14. Other. Specify: (14) $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

Official Form 410S2 Notice of Postpetition Mortgage Fees, Expenses, and Charges page 1
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Debtor 1 Russell Kauffman Case number (imown 24-13538

First Name Middle Name Last Name

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.

LJ | am the creditor.

| am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best
of my knowledge, information, and reasonable belief.

X /s/Shakyra Hopkins Date 01,14 , 2025

Signature
Print: Shakyra Hopkins Tite _Authorized Agent

First Name Middle Name Last Name
Company Liepold, Harrison & Associates, PLLC
Address 1425 Greenway Drive, Suite 250

Number Street

Irving TX 75038

City State ZIP Code

Contact phone (800 ) 349 - 1254 Email PCNInquiries@I|ha-law.com

Official Form 410S2 Notice of Postpetition Mortgage Fees, Expenses, and Charges page 2
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UNITED STATES BANKRUPTCY COURT

Eastern District of Pennsylvania (Philadelphia)

In Re: Russell Kauffman Case No 24-13538

Debtor(s)

Chapter 13

CERTIFICATE OF SERVICE

| hearby certify that on 01/14/2025 a true and correct copy of the foregoing Post-Petition Fee Notice was served
upon all interested parties pursuant to the Court’s CM/ECF system.

By: /s/ Shakyra Hopkins

Authorized Agent for Creditor
Liepold, Harrison and Associates
1425 Greenway Drive, Suite 250
Irving, TX 75038

Debtor through the debtor’s attorney of record

Russell Kauffman
12120 Sweet Briar Rd
Philadelphia, PA 19154-1714

Debtor’s Counsel
Michael A. Cibik
help@cibiklaw.com

Trustee
Kenneth E. West
ecfemails@ph13trustee.com

US Trustee
Office of United States Trustee
USTPRegion03.PH.ECF@usdoj.gov
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&Y INVOICING "Invoice Detail IP Carrington Mortgage Services, LLC / Laquita Jimerson

A fe i idl B al a @

Approve | Resolve | Route | eMessages | P-Notes | Receipts | Print | Create eMessage | Curtailment Threshold 120 of 122 | << >>
Vendor KML LAW GROUP, P.C. Regarding: Invoice Number: 30646604
Address: 701 Market Street RUSSELL E KAUFFMAN Invoice Status: Check Confirmed (Exc)
Mellon Independence Center, Suite 5000 12120 SWEET BRIAR RD Loan No.: ae
Philadelphia, PA 19106-1532 PHILADELPHIA, PA 19154 Acquisition Date:
Payee Code: 1021 Loan Type: Conventional
Vendor Contact: Dan Richard Asset No.:
Vendor Ref #: 239142BK REO Loan Status: N/A
Servicer: Carrington Mortgage Services, LLC Investor Loan + REO Loan Status Date: N/A
Inv. ID / Cat. ID 00261/00100 Referral Date: 10/3/2024
Investor Name: NEW CENTURY HOME EQUITY LOAN TRUST
Loan Location:
one 1D: 342805221 BK Case No: 24-13538 AMC
Class Code: BK Chapter: 13
Entity Code: 0 Submitted Date: 11/16/2024
GSE Code: :
Vendor Invoice Date: 11/14/2024
Cie. Rem. Paid In Full Date: N/A
Hitype: Foreclosure Removal Date: N/A
Litigation Status MS Status: N/A
Code: Relief Requested Date: N/A
Man Code: Protection Begin Date: N/A
Protection End Date: N/A
Original Mortgage Amount: $0.00
Principal Balance as of invoice create date: $179,159.34
Principal Balance as of today's date: $179,159.34
Bankruptcy - Bankruptcy Services
11/16/2024 11/20/2024 12/23/2024 11/20/2024 11/20/2024 11/23/2024 5
[Line items |[ Lf lf l lf l lI Lf lf lf lf
Fees Total: $500.00 Invoicing Prev. Billed: $1,000.00 Exc. Loan Allow: Exc. Milestone Exc Ord Allw:
Costs Total: $1.25 Invoicing Prev. Billed: $0.00 Exc. Loan Allow: Exc Ord Allw:
Exc. Loan Total Fees/Costs Allow:
Totals Inv Amt: $501.25 Prev. Billed: $1,000.00 Loan Total Fees/Costs Prev.Billed: $27,533.66 Exc Ord Allw:
Fees
Al 5] _c| Attorney Fees Proof of Claim N 11/08/24 1 $500.00 $500.00 $0.00 $500.00
Note: Proof of Claim/Recoverable
Service From Date: 11/08/2024 Service To Date: 11/08/2024
Total: $500.00 $0.00 $500.00
Costs
Al 5) c| Service Costs Service of Notice N 10/28/24 1 $1.25 $1.25 $0.00 $1.25
Note: Postage Costs - Statutory Mailing Recoverable - Statutory Mailing may pertain to either Defendant or Interested Party - Please refer to specific backup for details
Service From Date: 10/28/2024 Service To Date: 10/28/2024
Total: $1.25 $0.00 $1.25
Invoice Total: $501.25 $0.00 $501.25

Case 24-13538-amc

&Y INVOICING’ Invoice Detail

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IP Carrington Mortgage Services, LLC / Laquita Jimerson

Approve | Resolve | Route | eMessages | P-Notes | Receipts | Print | Create eMessage | Curtailment Threshold

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Vendor KML LAW GROUP, P.C. Regarding: Invoice Number: 30647423
Address: 701 Market Street RUSSELL E KAUFFMAN Invoice Status: Check Requested (Exc)
Mellon Independence Center, Suite 5000 12120 SWEET BRIAR RD Loan No.: a
Philadelphia, PA 19106-1532 PHILADELPHIA, PA 19154 Acquisition Date:
Payee Code: 1021 Loan Type: Conventional
Vendor Contact: Dan Richard Asset No.:
Vendor Ref #: 205394FC REO Loan Status: N/A
Servicer: Carrington Mortgage Services, LLC Investor Loan + REO Loan Status Date: N/A
Inv.1D/Cat.ID  00261/00100 Type: Judicial
Investor Name: NEW CENTURY HOME EQUITY LOAN TRUST Referral Date: 3/26/2020
Invoice ID: 343518781 Loan Location:
Class Code: Submitted Date: 12/2/2024
Entity Code: 0 Vendor Invoice Date: 12/2/2024
GSE Code: Paid In Full Date: N/A
GSE REO Rem. Foreclosure Removal Date: N/A
Code: MS Status: N/A
HiType: Relief Requested Date: N/A
ewe Status Protection Begin Date: N/A
Man Code: Protection End Date: N/A
Original Mortgage Amount: $0.00
Principal Balance as of invoice create date: $179,159.34
Principal Balance as of today's date: $179,159.34
Foreclosure - Foreclosure Services
12/02/2024 12/03/2024 12/23/2024 12/04/2024 12/04/2024 3
Line Items || L lf l lf l I L lf lf lf L
Fees Total: $100.00 Invoicing Prev. Billed: $3,750.00 Exc. Loan Allow: $400.00 Exc. Milestone Exc Ord Allw:
Costs Total: $2.07 Invoicing Prev. Billed: $2,344.56 Exc. Loan Allow: Exc Ord Allw:
Exc, Loan Total Fees/Costs Allow:
Totals Inv Amt: $102.07 Prev. Billed: $6,094.56 Loan Total Fees/Costs Prev. Billed: $21,621.66 Exc Ord Allw:
Fees
Al 5] _c| attorney Fees Postpone/Re-Set Sale N 11/14/24 1 $100.00 $100.00 $0.00 $100.00
Note: Postpone Sale - Client Request/Recoverable
Service From Date: 11/14/2024 Service To Date: 11/14/2024
Total: $100.00 $0.00 $100.00
Costs
Al & cl Service Costs Statutory Mailings N 11/15/24 1 $0.69 $0.69 $0.00 $0.69
Note: Postage Costs - Statutory Mailing Recoverable - Statutory Mailing may pertain to either Defendant or Interested Party - Please refer to specific backup for details
Service From Date: 11/15/2024 Service To Date: 11/15/2024
Al Ey cl Service Costs Statutory Mailings N 11/15/24 1 $0.69 $0.69 $0.00 $0.69
Note: Postage Costs - Statutory Mailing Recoverable - Statutory Mailing may pertain to either Defendant or Interested Party - Please refer to specific backup for details
Service From Date: 11/15/2024 Service To Date: 11/15/2024
al 4 cl Service Costs Statutory Mailings N 11/15/24 1 $0.69 $0.69 $0.00 $0.69
Note: Postage Costs - Statutory Mailing Recoverable - Statutory Mailing may pertain to either Defendant or Interested Party - Please refer to specific backup for details
Service From Date: 11/15/2024 Service To Date: 11/15/2024
Total: $2.07 $0.00 $2.07
Invoice Total: $102.07 $0.00 $102.07

